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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION

    LEVEL SLEEP LLC,                                        §
                                                            §
                                                            §    CIVIL ACTION NO. 2:18-CV-00120-RWS
                   Plaintiff,                               §
                                                            §
    v.                                                      §
                                                            §
    DORMEO NORTH AMERICA, LLC, TOP                          §
    SHOP T.V. LLC, OCTASPRING                               §
    OPERATIONS US, INC., OCTASPRING                         §
    US, INC.,

                   Defendants.

                                                     ORDER

         Before the Court is Defendants Dormeo North America, LLC, Top Shop TV, LLC,

Octaspring Operations US, Inc. and Octaspring US, Inc.’s (“Defendants”) Motion to Dismiss

Plaintiffs’ Amended Complaint for Improper Venue (Docket No. 25). Before filing a response,

Plaintiff Level Sleep LLC (“Plaintiff”) filed an Emergency Motion for Leave to Serve Limited

Venue-Related Discovery (Docket No. 31). The Court ordered Defendants to respond to the

motion by June 22, 2018. Docket No. 34.

         Having considered the briefing, the Court finds that expedited discovery is proper to give

due consideration to the issues raised in both Defendants’ and Plaintiff’s Motions. Accordingly,

Plaintiffs’ Motion (Docket No. 31) is GRANTED. It is ORDERED that Plaintiffs shall have

thirty (30) days for the completion of venue-related discovery.1 Venue discovery shall be limited

to the proposed discovery detailed in Plaintiff’s Motion.



1
 Because there are no other pending deadlines in this case, the Court will consider the merits of the motion to dismiss
and any related motions prior to setting any schedule or deadlines in this case.
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       Defendants’ Motion to Dismiss (Docket No. 25) is DENIED without prejudice to renewal

after the completion of venue discovery. Accordingly, Plaintiff’s Motion for an Extension of Time

(Docket No. 33) is DENIED AS MOOT.

        SIGNED this 26th day of June, 2018.



                                                          ____________________________________
                                                          ROBERT W. SCHROEDER III
                                                          UNITED STATES DISTRICT JUDGE




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